               IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE DISTRICT OF SOUTH CAROLINA
                            FLORENCE DIVISION


UNITED STATES OF AMERICA                      )      CR. NO.: 4:22-580
                                              )
                                              )
             -vs-                             )           NOTICE OF
                                              )           REQUEST FOR
                                              )           PROTECTION
BHAGAVAN MAHAMAYAVI ANTLE                     )


      The undersigned, Andrew B. Moorman, Sr., seeks protection from court

appearances on the following dates:

      -   December 15, 2023- A visitation and a funeral for a family member;

      -   December 18, 2023, through December 22, 2023- A previously planned

          vacation.

                                       Respectfully submitted,

                                       s/ Andrew B. Moorman, Sr.
                                       Attorney for Defendant
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Greenville, South Carolina.
November 22, 2023.
